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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT {)F FLORIDA
'I`AMPA DIVISION

IN RE:
ROGER DALE BRUNN.ER and CASE NO.: 81 l7-bk-06834

MARY ANNE BRUNNER
Debtor(s).

 

AMENDED CHAPTER 13 PLAN
A. N()TICES.
DebtorI must check one box on each line to state whether or not the Plan includes each of

the fo}lowing items. If an item is checked as “Not Included,” if both boxes are clieeked, or if
neither box is checked, the provision wili be ineffective if set out later in the Plan.

 

A limit on the amount of a secured claim based on a valuation Inclnded Not lncluded
which may result in a partial payment or no payment at all to [] [X]

the secured creditor. See Seetions C.S(d) and (e). A separate
motion Will be liled.

 

 

 

Avoidance of a judicial lien or nonpossessory, nonpurchase lncluded Not lncluded

money security interest under ll U.S.C. § 522('["). A separate [] [X]

motion vviil be tiled. See Section C.S(e).

`Nonstandard provisions, set out in Section E. lncluded Not Included
[X] ll

 

 

 

B. MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s t`ee of l()% and
shall begin 30 days from petition lil.ing/conversion date. Debtor shall make payments to the
Trustee for the period of 60 months if the Trustee does not retain the 'l"ull lO%, any portion not
retained Will be disbursed to allowed claims receiving payments under the Plan and may cause
an increased distribution to the unsecured class ot` creditors

$l,l26 from month l through 5.
$1,070 from month 6 through 60.
55 from month through

 

3 AII references lo "‘Debtor’" include and refer to both of" the debtors in a case filed jointly by two
individuals

 

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C. PR()POSED DISTRIBUTIONS.

1. ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee $4,225 Total Paid Prepetition SI,OZS Balance Due $3,200
MMM Fee SNONE Total Paid Prepetition S NONE Baiance Due $ NONE
Estimated Monitoring Fee at 30 per Month.

Attorncy’s Fecs Payabic Through Plan at 3500 Monthly (subject to adjustment).

2. DOl\/IESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §1()1(14A).
NONE

3. PRIORITY CLAIMS (as defined in 11 U.S.C. 8 507).
NONE

4. TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
receive a l"ee, the percentage of which is fixed periodically by the United Statcs Trustee.

5. SECURED CLAIMS. Pre-conlirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments The 'l`rustee shall disburse adequate protection payments to secured
creditors prior to confirmation, as soon as practicableJ if the Plan provides for payment to the
secured creditor, the secured creditor has filed a proof ol" claim or Debtor or Trustee has filed a
proof of claim for the secured creditor under § SUl(c), and no objection to the claim is pending
lf Debtor’s payments under the Plan are timely paid, payments to secured creditors under the
Plan shall be deemed contractually paid on tilne.

(a) Claims Sccured by Debtor’s Principai Residence Whieli l)ebtor Intends to
Retain - Mortgage, HOA and Condo Association Payments, and Arrears, if
any., Paid Through the Plan. lf the Plan provides for curing prepetition
arrearages on a mortgage on Debtor’s principal residence, Debtor Wiil pay, in
addition to all other sums due under the proposed Plan, all regular monthly
postpetition mortgage payments to the Fi"`rustee as part ofthe Plan. These mortgage
payments, Which may be adjusted up or down as provided for under the loan
documents, are due beginning the first due date after the case is filed and
continuing each month thereafter The Trustee shall pay the postpetition mortgage
payments for Debtor’s principal residence on the following mortgage claims:

NONE

l\.]

NONE

NONE

NONE

NONE

NONE

(b)

(C)

(d)

(€)

co

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Claims Securcd by Otlier Real Pi'operty Wliieh Dehtor Intends to Retain -
Mortgage Payiiients, l-IOA and Condo Association Payments, and Arrears, if
any, Paid Thi'ougli the Plan. lf the Plan provides to cure prepetition arrearages on
a mortgage, Debtor will pay, in addition to all other sums due under the proposed
Plan, all regular monthly postpetition mortgage payments to the Ti'ustee as part of
the Plan. These moitgage payments, which may be adjusted up or down as
provided for under the loan documents, are due beginning the first due date after
the case is filed and continuing each month therealier. The Trustee shall pay the
postpetition mortgage payments on the following mortgage claims:

Ciainis Seeui~ed by Real Property - Debtor Intends to Seek Moi'tgage
Modification. lf Debtor obtains a modification of the mortgage, the modified
payments shall be paid through the Plan. Pendiiig the resolution of a mortgage
modification request, Debtor shall make the following adequate protection
payments to the Trustee: (l) for homestead property, the lesser of 31% of gross
monthly income of Debtor and non~filiiig spouse, if any (after deducting
homeowners association fees), or the iioiiiial monthly contractual mortgage
payment; or (2) for nor-i-!ioinesread, income-producing property, 75% of the gross
rental income generated from the property.

Claims Secui'ed by Real Property or Pei'sonal Propei'ty to Which Section 506
Valuatioii APPLIES (Strip Down). Uiider il U.S.C. § 1322 (b)(Z), this
provision does not apply to a claim secured solely by Debtor’s principal
residence A separate motion to determine secured status or to value the
collateral must be filed. 'l`lie secured portion of the claim, estimated below, shall
be paid. Unless otherwise stated iii Sectioii E, the payment through the Plan does
not include payments for escrowed property taxes or insurance

Liens to be Avoided Undei' 11 U.S.C. § 522 or Stripped ()ff Undei' 11 U.S.C.
§ 506. Debtor must file a separate motion under § 522 to avoid a judicial lien or a
uonpossessory, iionpurcliase money security interest because it impairs an
exemption or under § 506 to determine secured status and to strip a lien.

Claims Secui'ed by Real Property and/or Pei'sonal Pi'operty to Whlch Section
506 Valuation DOES NOT APPLY Under the Final Paragi'aph in ll U.S.C.
§ 1325(:\). Thc claims listed below were eithei': (l) incurred within 910 days
before the petition date and secured by a purchase money security interest in a
motor vehicle acquired for the personal use of chtoi'; or (2) incurred within one
year of the petition date and secured by a purchase money security interest in any
other thing of value. i`liese claims will be paid iii full under the Plan with interest
at the rate stated below. 4 ` 4

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(g) Claims Seeui'ed by Real or Pei'sonal Property to be Paid with lnterest
Through the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be
paid in full under the Plan with interest at the rate stated below.

 

 

 

 

 

 

 

 

 

 

Last Four Creditor Collateral Clairn Payment Interest
Digits of Deseription/ Amount 'I`hrough Rate
Acct. No. Addi'ess Plan
6651 KAY i'EweLens JEWELRY $1,858.63 $36.58 6.75%
(li) Claims Secured by Pei‘sonal Propei'ty -- Maintaining Regular Payments and
Curing Arrearage, if any, With All Payments iii Plan.
NONE
(i) Secured Claims Paid Directiy by Debtor. Tlie following secured claims are

being made via automatic debit/draft from Debtor’s depository account and are to
continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
automatic debit/dralit. The automatic stay is terminated in rem as to Debtor and in rem
and iii pei'soncnii as to any codebtor as to these creditors and lessors upon the filing of this
Plan. Notliing herein is intended to terminate or abrogate Debtor’s state law contract

 

 

 

 

 

 

 

 

 

 

rights_

Last Four Creditor Property/Collatei'al

Digits of

Acct. No.

30i8 WRIGHT-PATT CREDIT UNION 2013 DODGE GRAND CARAVAN
(j) Surrender of Collateral/Property that Secui'es a Claim. Debtor will surrender the
following collateral/property Tlie automatic stay under il U.S.C. §§ 362(a) and lBOl(a)
is terminated iii rear as to Debtor and fn rem and in personam as to any codebtor as to
these creditors upon the filing of this Plan.

NONE
(k) Sccured Claims 'l`hat Debtor Does Not Intend to Pay. Debtor does not intend
to make payments to the following secured creditorsl The automatic stay is terminated iii
rem as to Debtor and iii rem and iii personmu as to any codebtor Witb respect to these
creditors upon the filing of this Plan. Debtor’s state law contract rights and defenses are
neither terminated nor abrogated

Last Foui' Ci'editor Collatei‘al/PropertyDeseription/Addi'css

Digits of

Acct. No.

0459 ALLY FlNANClAL 201 l l“iYUNDAl SONATA

8657 KlA l\/IOTORS FINANCE ZOl'l KIA FORTE

 

 

 

 

 

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6. LEASES / EXECUTORY C()NTRACTS. As and for adequate protectioii, the
Ti'ustee shall disburse payments to creditors under leases or executory contracts prior to
confirmation, as soon as practicable, if the Plan provides for payment to creditor/lesson the
creditor/lessor has filed a proofof claim or Debtor or 'l`rustee has filed a proof of claim for the
secured creditor/lessor under § 501(0), and no objection to the claim is peiidiiig. lf Debtor’s
payments under the Plan are timely paid, payments to creditors/ lessors under the Plan shall be
deemed contractually paid on time.

(a) Assurnption of Leasestxecutory Conti'acts for Real or Personal Pro[ierty to
be Paid and Arrearages Cured Through the Plan. Debtor assumes the following
leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
foliows.

NONE

(b) Assuniption of Leases/Executory Contracts for Real or Personal Pi'operty to
be Paid I)ireetly by Debtor. Debtor assumes the following lease/executory contract
claims that are paid via automatic debit/draft from Debtoi"s depository account and are to
continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
automatic debit/draft 'l`he automatic stay is terminated in rem as to Debtor and iii rem
and iii personam as to any codebtor as to these creditors and lessors upon the filing of this
Plan. Nothing herein is intended to terminate or abrogate De-btor’s state law contract

 

 

 

rights
Last Foui' Creditoi° Collateral/Property Description
Digits of
Acct. No.
NONE MARKETPLACE HOl\/IES APARTMENT LEASE

 

 

 

(c) Rejection of Leases/Executory Contracts and Surrender of Real or Pei‘sonal
Leased Property. Debtor rejects the following leases/executory contracts and will
surrender the following leased real or personai propei'ty. The automatic stay is tenninated
in rem as to Debtor and in rem and in persouuiii as to any codebtor as to these creditors
and lessors upon the filing of this Plan.

N()NE

7. GENERAL UNSECURED CREDITORS. General unsecured creditors with
allowed claims shall receive a pro ram share of the balance of any funds remaining after
payments to the above referenced creditors or shall otlieiwise be paid under a subsequent Order

Contii'ming Plaii. The estimated dividend to unsecured creditors shall be no less than S52,615
(100%).

 

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GENERAL PLAN PROVISIONS:

l. Secui.'ed creditors, whether or not dealt with under the Plan, shall retain the liens
securing such claims

l\.)

Payments made to any creditor shall be based upon the amount set forth in the
creditor’s proof of claim or other amount as allowed by an Order of the
Bankruptcy Court.

3. lf Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
property of the estate shall not vest in Debtor until the earlier of Debtor’s
discharge or dismissal of this case_, unless the Court orders otherwise Property of
the estate

(a) X shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise, or

(b) shall vest in Debtor upon confirmation of the Plan.

4. The amounts listed for claims in this Plan are based upon Debtor’s best estimate
and belief and/or the proofs of claim as filed and allowed. Unless otherwise
ordered by tlie Coui't, the Trustee shall only pay creditors with filed and allowed
proofs of claiin. Aii allowed proof of claim will control_, unless the Coui't orders
otherwise

5. Debtor may attach a summary or spi'eadsheet to provide an estimate of anticipated
distributions The actual distributions may vary. if the sunnnary or spreadsheet
conflicts with this Plan, the provisions of the Plan control prior to coniirmation,
after which time the Oi‘der Confirming Plan shall control

6. Debtor shall timely file all tax returns and mai<e all tax payments and deposits
when due. (However, if Debtor is not required to tile tax retums, Debtor shall
provide the Trustee with a statement to that effect.) lior each tax retain that
becomes due after the case is filed, Debtor shall provide a complete copy of the
tax i'eturn, including business returns ifDebtor owns a business, together with all
related W-Zs and Form 10995, to the Trustee within 14 days of filing the return.
Unless otherwise ordered, consented to by the Trustee, or ordered by the Coui‘tJ
Debtor shall turn over to the Trustee all tax refunds in addition to regular Plan
payments Debtor shall not instruct the lntemal Revenue Sei'vice or other taxing
agency to apply a refund to the following year’s tax liability. Debtor shall not
spend any tax refund without first having obtained the 'l`rustee’s consent or
Court approval.

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E. NONSTANDARJ) PROVISIONS as Def”ined in Fedei'ai Rule of Bankruntcv
Pi'ocedure 3015§c). N`ote: Any nonstandard provisions of this Plan other than those set out in
this section are deemed void and are stricken

The Debtors propose to create a separate unsecured class for the non-dischargeable co-
signed student loan debt owed to Day Air Credit Union (Claim No. 4), and the primary
obligor Will pay this debt pursuant to its contract terms outside the plan.

Any proceeds from the Debtor’s FDCPA, FCCPA and 'I`CPA claims against Clearsprings,
Bayview and Alta Reo will be dedicated to their Chaptei‘ 13 Plan to the extent ordered by
the Court.

CERTlFlCATION

By filing this document, the Attorney for Debtoi‘, or Debtor, if not represented by an
attorney, certifies that tlie wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Coui't, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.

SlGNA'l`URE§ S ):
Debtorl s1

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